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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK, et al,


                    Plaintiffs,

        v.                                          Civil Docket No. 20-cv-2340 (EGS)

 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,


                    Defendants.




                                     NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Defendants, Donald J. Trump, in his official capacity

as President of the United States, Louis DeJoy, in his official capacity as Postmaster General of

the United States, and the United States Postal Service, appeal to the United States Court of

Appeals for the District of Columbia Circuit from the following orders: this Court’s September

27, 2020 Order and Memorandum Opinion (Docket Nos. 51 and 52), and this Court’s October

22, 2020 Order (Docket No. 62).

Dated: November 27, 2020            Respectfully submitted,

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                                    /s/ Joseph E. Borson
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